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                           UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

 In re :                                       )
                                               )
 KENNETH DEROSA                                )       CaseNo.17-16193
                                               )       Chapter 13
 PAULA DEROSA                                  )
                                               )
                                Debtors        )


                                   REPORT OF DEBTOR AUDIT

        Pursuant to 28 U.S.C. § 586(f)(l), the United States Trustee contracted for an audit to be
 performed of the above-captioned debtors ' petition, schedules and other information filed by the
 debtors in this case. In accordance with the Debtor Audit Standards established pursuant to
 Section 603(a) of the Bankruptcy Abuse Prevention and Consumer Protection Act of 2005,
 Chiampou Travis Besaw & Kershner LLP performed the procedures enumerated in the contract
 between it and the United States Trustee Program to determine whether certain items in the
 bankruptcy petition, schedules, and statements as originally filed by Kenneth & Paula DeRosa in
 Bankruptcy Case No. 17-16193 contain material misstatements concerning the debtors' income,
 expenditures, or assets.

                                          The auditor finds:
                      No material misstatements.
                      One or more material misstatements.
                      The material misstatements are listed on
                      he attached List of Material                     ./
                      Misstatements.


         The debtors were responsible for the preparation of the bankruptcy petition, schedules,
 and statements in this case. The United States Trustee Program is responsible for the sufficiency
 of the procedures developed to determine the accuracy, veracity, and completeness of the
 petitions, schedules and other information that the debtors are required to provide under
 11 U.S .C. §§ 521 and 1322. Chiampou Travis Besaw & Kershner LLP makes no representation
 regarding the sufficiency of the procedures either for the purpose for which this report has been
 requested or for any other purpose.

        The analysis and findings contained in this report are intended solely for the information
 and use of the United States Trustee Program and parties-in-interest in the subject civil
 bankruptcy proceeding and are not intended to be and should not be used by anyone other than
 these parties. However, this report is a matter of public record and its distribution is not limited.
 The report is not a legal determination, and the legal effect of the auditor' s findings of material
 misstatement is a question for the Court.
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 Further, the findings contained in the report neither require the United States Trustee Program or
 other parties in interest to take, nor preclude these parties from taking, legal action in or relating
 to this case, including with respect to matters not discussed in this report.


 Dated this 22nct day of December, 2017.


                                        Respectfully Submitted,


                                        Is/ Chiampou Travis Besaw & Kershner LLP
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                             List of Material Misstatements

                                           Amount Reported in
            Material Misstatement            Schedules and      Audit Finding
                                              Statements

         The sale of stock for proceeds
         of $30,622 .53 was omitted
                                             Not Applicable      $30,622.53
         from the Statement of Financial
         Affairs, Question 18.
